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     ""'Ao/.C,CASD) (Rev 12111) Judgment in a Criminal Case
               Sheet I

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                                              UNITED STATES DISTRICT COUR1l4 [t~:';; \S'                                                    U:40
                                                  SOUTHERN DISTRICT OF CALIFORNIA
                    UNITED STATES OF AMERlCA                                         JUDGMENT IN A eRIMINAL CASEiftr
                                        v.                                           (For Offenses Committed On or After November 1,          Mfrt"
                          ANDY ESPINOZA (13)                                         Case Number: 13CRI128-BEN
                                                                                     KATHRYN A. THICKSTUN
                                                                                     Defendant's Attorney
     REGISTRATION NO. 38019298

     D
     THE DEFENDANT:
     181 pleaded guilty to count(s) Is OF THE SUPERSEDING INFORMATION.
     D was found guilty on count(s) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
          after a plea of not guilty.
          Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                            Count
     Title & Section                         Nature ofOtTense                                                                              Number(s)
21 USC 846, 841 (a)(l)                CONSPIRACY TO DISTRlBUTE METHAMPHETAMINE                                                                   Is




        The defendant is sentenced as provided in pages 2 through                5          of this judgment. The sentence is imposed pursuant
 to the Sentencing Reform Act of 1984.
  D The defendant has been found not guilty on count(s)
  181 Count(s) UNDERLYING INDICTMENT                        ----------------------------------------------------
                                                                         is 181 areD dismissed on the motion ofthe United States.
  ~ Assessment: $100.00 forthwith or through the Inmate Financial Responsibility Program (IFRP) at the rate of not less than $25.00 per quarter
      during the period of incarceration.


  D Fine waived                                     D   Forfeiture pursuant to order filed                                     , included herein.
       IT IS ORDERED that the defendant shall notifY the United States Attorney for this district within 30 days of any change of name, residence,
 or mailing address until all fines, restitution, costs, and special assessmcnts imposed by this judgment arc fully paid. Ifordered to pay restitution, the
 defendant shall notify the court and United States Attorney of any material change in the defendant's economic circumstances.




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